                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                               SOUTHERN DIVISION

                                     Case No.: 7:17-cv-00170-D

BRANDON A. MOORE,                                )
                                                 )
                                                 )
                      Plaintiff,                 )       MEMORANDUM OF LAW IN SUPPORT OF
                                                 )        DEFENDANT’S MOTION TO DISMISS
                                                 )        PLAINTIFF’S AMENDED COMPLAINT
v.                                               )
                                                 )                 Fed. R. Civ. P. 12(b)(6), and
                                                 )                 Local Civil Rules 7.1 and 7.2
SMITHFIELD FARMLAND CORP.,                       )
                                                 )
                                                 )
                      Defendant.                 )


       Defendant, Smithfield Farmland Corp. (“Smithfield” or the “Company”), by counsel,

submits this memorandum of law in support of its Motion to Dismiss Plaintiff’s Amended

Complaint.

                                   I. PRELIMINARY STATEMENT

       Faced with the obvious legal deficiencies that existed in his original Complaint, Plaintiff

has resorted to a last ditch effort to amend both the factual and legal bases for this case.

Plaintiff’s Amended Complaint contains three new causes of action against Smithfield:

       •     Count One alleges that Smithfield retaliated against Plaintiff “in violation of
             NCGS §143-422.2 for refusing to testify falsely in a legal action, and for
             opposing practices made unlawful pursuant to Title VII of the Civil Rights
             Act of 1964, as amended in 1991, and NCGS §143-422.2.” (Am. Compl., p.
             8).

       •     Count Two alleges that Smithfield wrongfully terminated Plaintiff “for
             refusing to testify falsely in a legal action in violation of the public policies of
             the state of North Carolina, including the policies outlined in NCGS §143-
             422.2.” (Am. Compl., p. 9).


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       •   Count Three alleges that Smithfield wrongfully terminated Plaintiff “in
           violation of the federal laws guaranteed by the United States Constitution,
           First Amendment, Freedom of Speech.” (Am. Compl., p. 9).

       As with the original Complaint, each of the claims contained in the Amended Complaint

are founded upon allegations that Plaintiff was retaliated against and ultimately terminated for

opposing purported sexual harassment against a co-worker and for supporting her sexual

harassment lawsuit against Smithfield. (Am. Compl., ¶¶ 7; 23-28).

       Unfortunately for Plaintiff, the Amended Complaint contains the same fatal and

fundamental flaw as the original—the legal foundations for his claims (namely N.C. Gen. Stat. §

143-422.2 and the First Amendment) simply do not apply to the facts he has alleged. Thus,

regardless of the veracity of his allegations—and to be clear, Smithfield again strongly denies

them—Plaintiff’s Amended Complaint fails to state a cause of action upon which relief can be

granted.

                                II. STATEMENT OF FACTS

       The facts relevant to the issues raised in this motion are presented in Plaintiff’s Amended

Complaint and the Preliminary Statement, above. The gist of Plaintiff’s allegations is largely as

described in Smithfield’s Memorandum of Law in Support of its original Motion to Dismiss.

However, Plaintiff has re-worked them slightly to highlight his contention that Smithfield

attempted to coerce him into providing false testimony against Lisa Cooper in her sexual

harassment lawsuit against Smithfield. (Am. Compl. ¶¶ 7, 23-28). Smithfield disputes the

majority of the factual allegations contained in the Amended Complaint, but acknowledges that

they are presumed to be true and correct for purposes of this motion only. Anderson v. Sara Lee

Corp., 508 F.3d 181, 188 (4th Cir. 2007).




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                                         III. ARGUMENT

         A.      Applicable Legal Standards Under Rule 12(b)(6)

         The purpose of a Rule 12(b)(6) motion is to allow a defendant to test whether a plaintiff

would be entitled to relief as matter of law even if everything alleged in the complaint is

accepted as true. Conley v. Gibson, 355 U.S. 41, 45–46 (1957). “While a plaintiff is not charged

with pleading facts sufficient to prove [his] case . . . a plaintiff is required to allege facts that

support a claim for relief.” Bass v. E.I. DuPont de Nemours & Co., 324 F.3d 761, 765 (4th Cir.

2003), cert. denied, 540 U.S. 940 (2003) (emphasis in original). See also Jordan v. Alternative

Res. Corp., 458 F.3d 332, 346 (4th Cir. 2006) (“the burden of a plaintiff [is] to allege facts

sufficient to state all the elements of her claim”).

         B.      Plaintiff’s Amended Complaint Fails To State Any Claim Upon Which Relief
                 Can Be Granted Under N.C. Gen. Stat. § 143-422.2.

         In Counts One and Two of the Amended Complaint, Plaintiff attempts to advance claims

pursuant to N.C. Gen. Stat. § 143-422.2. By its express terms, N.C. Gen. Stat. § 143-422.2, is a

“public policy” statute intended to “safeguard the right and opportunity of all persons to seek,

obtain and hold employment without discrimination or abridgement on account of race, religion,

color, national origin, age, sex or handicap by employers which regularly employ 15 or more

employees.” Id. While N.C. Gen. Stat. § 143-422.2 “clearly pronounces the State’s public

policy” concerning discrimination in employment, the statute itself affords no remedies or

private causes of action for a purported violation. See Smith v. First Union Nat. Bank, 202 F.3d

234, 247 (4th Cir. 2000); Johnson v. North Carolina, 905 F. Supp. 2d 712, 724 (W.D.N.C.

2012).

         Instead, N.C. Gen. Stat. § 143-422.2 serves only as a “very narrow exception” at common

law to the employment-at-will doctrine. Blair v. Randolph Cty. Bd. of Educ., 212 N.C. App. 419

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(2011). Claims involving conduct amounting to retaliation, hostile work environment, disparate

treatment, or constructive discharge do not implicate the public policy concerns articulated in

N.C. Gen. Stat. § 143–422.2, and therefore are not valid. See e.g., Jones v. Duke Energy Corp.,

43 F. App’x 599, 600 (4th Cir. 2002) (“[N]o private cause of action exists for retaliation, hostile

work environment, disparate treatment, or constructive discharge in violation of public policy.”).

In fact, federal courts construing N.C. Gen. Stat. § 143-422.2 have strictly limited its application

to claims of wrongful termination on account of protected class status (i.e., race, religion, color,

national origin, age, sex or handicap). See e.g., Williams v. Target Corp., No. 3:10CV136-RJC-

DSC, 2010 WL 2650847, at *4 (W.D.N.C. Apr. 22, 2010) (“Federal courts considering the issue

have consistently refused to recognize a North Carolina state public policy claim other than

where the plaintiff was wrongfully terminated.”).

       Plaintiff has not alleged that he was wrongfully terminated as a result of his race,

religion, color, national origin, age, sex or handicap. This fact alone is fatal to both Counts One

and Two. Plaintiff instead has attempted to support his claims under N.C. Gen. Stat. § 143-422.2

with allegations of conduct that is neither implicated nor prohibited by the statute.

               1.      Plaintiff's Retaliation Claim Under N.C. Gen. Stat. §143-422.2 Fails
                       Because No Such Cause Of Action Exists.

       Count One of the Amended Complaint is based wholly on allegations that Smithfield

retaliated against Plaintiff in violation of N.C. Gen. Stat. § 143-422.2. According to Plaintiff,

Smithfield retaliated against him “for refusing to testify falsely in a legal action, and for

opposing practices made unlawful pursuant to Title VII of the Civil Rights Act of 1964, as

amended in 1991, and NCGS §143-422.2.” (Am. Compl., p. 8).

       The obvious and fatal flaw in this claim is that N.C. Gen. Stat. § 143-422.2 provides

neither a private right of action for retaliation nor a source of public policy prohibiting retaliation

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based on opposition to purported discrimination. See e.g., Gethers v. Harrison, No. 5:12-CV-

430-F, 2014 WL 28814, at *7 (E.D.N.C. 2014) (“The NCEEPA does not express any public

policy concerning retaliation for opposition to any form of discriminatory practice.... Moreover,

no North Carolina court has interpreted the NCEEPA to include a claim for discharge in

retaliation for complaining about discriminatory employment practices.”); Strickland v. Jewell,

562 F. Supp. 2d 661, 675 (M.D.N.C. 2007) (noting that § 143-422.2 “does not express a public

policy with respect to . . . opposition to any form of discriminatory practice.”); DeWitt v.

Mecklenburg Cty., 73 F. Supp. 2d 589, 604–05 (W.D.N.C. 1999) (same).

       In fact, the federal courts in North Carolina have universally refused to extend N.C. Gen.

Stat. § 143-422.2 to any manner of retaliation. See e.g., McLean v. Patten Communities, Inc.,

332 F.3d 714, 719 (4th Cir. 2003) (“[T]here is no private right of action under North Carolina

law for retaliation under §143–422.2.”); Onwe v. Waste Indus., Inc., No. 5:15-CV-611-D, 2016

WL 6330387, at *2 (E.D.N.C. Oct. 26, 2016) (“Section 143-422.2 . . . does not create a private

right of action for retaliation or provide a source of public policy concerning retaliation.”); Davis

v. Gregory Poole Equip. Co., No. 2:14-CV-12-BO, 2015 WL 8484261, at *4 (E.D.N.C. Dec. 8,

2015) (“[P]laintiff’s attempted state law retaliation claim fails because no such cause of action

exists.”); Haley v. Wal-Mart Stores E., L.P., No. 5:07-CV-219-D, 2008 WL 5069073, at *4

(E.D.N.C. Nov. 17, 2008) (“[P]laintiff's wrongful discharge retaliation claim . . . fails because

North Carolina does not recognize a claim for wrongful discharge in violation of public policy

grounded in a retaliation theory under the Equal Employment Practices Act.”); McCallum v.

Billy Graham Evangelistic Ass’n, No. 3:09CV381-RLV, 2012 WL 4756061, at *15 (W.D.N.C.

Oct. 5, 2012) (“North Carolina law does not provide for a separate claim of retaliation.”); Day v.

Advance Stores Co., No. 1:09-CV-664, 2010 WL 1286666, at *8 (M.D.N.C. Mar. 29, 2010)



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(“Plaintiffs may not . . . bring wrongful discharge claims under Section 143-422.2 based on

alleged racial harassment or retaliation.”).

       Accordingly, Plaintiff’s claim of retaliation under N.C. Gen. Stat. § 143-422.2 fails as a

matter of law to state a cause of action upon which relief can be granted, and should be

dismissed pursuant to Rule 12(b)(6).

               2.      Plaintiff's Wrongful Termination Claim Under N.C. Gen. Stat. § 143-
                       422.2 Fails Because Plaintiff Has Not Alleged That He Was The
                       Victim Of Protected Discrimination.

       In Count Two of the Amended Complaint, Plaintiff again alleges conduct that is neither

implicated nor prohibited by N.C. Gen. Stat. § 143-422.2. According to Plaintiff, Smithfield

wrongfully terminated him “for refusing to testify falsely in a legal action in violation of the

public policies of the state of North Carolina, including the policies outlined in NCGS §143-

422.2.” (Am. Compl., p. 9).       Although Plaintiff attempts to couch his claim in terms of

“wrongful termination,” Count Two is clearly founded upon a theory of retaliation. Plaintiff

admits as much throughout the Amended Complaint.

       Indeed, aside from his express allegation that he was “retaliated against for refusing to

provide false testimony in a legal action” (Am. Compl.,¶ 7), Plaintiff repeatedly characterizes

this purported refusal as “protected activity,” and repeatedly alleges that his termination was the

result of that “protected activity.” (Am. Compl.,¶¶ 7, 23-28). As demonstrated above, N.C. Gen.

Stat. § 143-422.2 provides no basis for such a claim. See e.g., McLean, 332 F.3d at 719 (4th Cir.

2003) (“[T]here is no private right of action under North Carolina law for retaliation under §

143-422.2.”); Onwe, No. 5:15-CV-611-D, 2016 WL 6330387, at *2 (E.D.N.C. Oct. 26, 2016)

(“Section 143-422.2 . . . does not create a private right of action for retaliation or provide a

source of public policy concerning retaliation.”)



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       Even assuming for discussion’s sake that Count Two could be construed as something

besides retaliation, it still fails to state a viable claim because Plaintiff alleges no facts

establishing that he was subjected to any manner of discrimination prohibited by N.C. Gen. Stat.

§ 143-422.2. Nothing in the statute can remotely be read as providing protection against a

refusal to provide false testimony. By its express terms, N.C. Gen. Stat. § 143-422.2 is a

declaration of public policy intended to prohibit discrimination in employment against

individuals on account of their “race, religion, color, national origin, age, sex or handicap,” and

the federal courts construing it have repeatedly refused to extend its application beyond claims of

wrongful termination based on those protected characteristics. See e.g., Williams v. Target

Corp., No. 3:10CV136-RJC-DSC, 2010 WL 2650847, at *4 (W.D.N.C. Apr. 22, 2010) (“Federal

courts considering the issue have consistently refused to recognize a North Carolina state public

policy claim other than where the plaintiff was wrongfully terminated.”). Plaintiff does not

allege anywhere in the Amended Complaint that he was subjected to any such discrimination.

As a result, Count Two must also be dismissed.

       C.      Plaintiff’s Amended Complaint Fails To State Any Claim Upon Which Relief
               Can Be Granted Under The First Amendment.

       Finally, Count Three of the Amended Complaint purports to state a claim “for wrongful

termination in violation of the federal laws guaranteed by the United States Constitution, First

Amendment, Freedom of Speech.” (Am. Compl., p. 9). The legal and factual bases for this

claim are unclear. What is abundantly clear, however, is that the First Amendment protects

citizens only from government or state interference with their right to free speech; it does not

apply to private employers like Smithfield. See e.g., Dixon v. Coburg Dairy, Inc., 369 F.3d 811,

819 (4th Cir. 2004). As the United States Supreme Court has noted:




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       It is, of course, a commonplace that the constitutional guarantee of free speech is
       a guarantee only against abridgment by government, federal or state. Thus, while
       statutory or common law may in some situations extend protection or provide
       redress against a private corporation or person who seeks to abridge the free
       expression of others, no such protection or redress is provided by the Constitution
       itself.

Hudgens v. NLRB, 424 U.S. 507, 513 (1976).

       Moreover, neither the United States nor North Carolina recognizes a public-policy-based

cause of action for alleged constitutional violations by private parties. See Sesco v. Dana World

Trade Corp., No. 1:01CV43-T, 2002 WL 215015, at *6 (W.D.N.C. Feb. 5, 2002); see also

Johnson v. Mayo Yarns, Inc., 484 S.E.2d 840, rev. denied, 488 S.E.2d 802 (1997) (first-

amendment rights and corresponding state constitutional rights do not extend to the private

workplace). Accordingly, Count Three of the Amended Complaint fails to state a claim upon

which relief can be granted, and must also be dismissed under Rule 12(b)(6).

                                      IV. CONCLUSION

       Plaintiff’s Amended Complaint fails as a matter of law to state any claim upon which

relief can be granted, and Plaintiff cannot in good faith cure the fundamental deficiencies that

doom it.1 Accordingly, Smithfield respectfully requests that the Court grant its motion and

dismiss Plaintiff’s Amended Complaint with prejudice.



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          Plaintiff has not alleged in the Amended Complaint that he was an at-will employee at
Smithfield. His omission is significant since the State’s “public policy” exception to the
employment-at-will doctrine applies only to at-will employees. In fact, Plaintiff was not an at-
will employee. He was employed under the terms of a collective bargaining agreement
prohibiting discharge in the absence of just cause. Accordingly, Plaintiff would be unable to
advance any manner of policy-based “wrongful termination” claim under North Carolina state
law even if he could re-plead the claims advanced in his Amended Complaint (he cannot). Thus,
any effort by Plaintiff to further amend his pleading to do so would be futile. See e.g., Bacheldor
v. Int’l Bhd. of Elec. Workers, No. 7:10-CV-228-BO, 2011 WL 9210457, at *2 (E.D.N.C. Apr.
21, 2011) (dismissing common law wrongful discharge claim on basis that employee was subject
to collective bargaining agreement provision stating that employees shall only be fired for
“proper cause,” and therefore was not an at-will employee).
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Respectfully submitted this 17th day of October 2017.

                                    SMITHFIELD FARMLAND CORP.

                                    ___/s/ Melissa A. Romanzo________________
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on this 17th day of October 2017, a true and correct copy of the

foregoing was filed with the Clerk of Court using the CM/ECF system, which will send

notification of such filing to the following:

                               Angela Newell Gray, Esq.
                               7 Corporate Center Court, Suite B
                               Greensboro, NC 27408
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                               Attorney for Plaintiff



                                                        ___/s/ Melissa A. Romanzo_____________
                                                               Melissa A. Romanzo




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